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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                  (Alexandria Division)

                                                       )
  UNITED STATES, et al.,                               )
                                                       )
                 Plaintiffs,                           )
                                                       )       1:23cv00108 (LMB/JFA)
                        v.                             )
                                                       )
  GOOGLE LLC,                                          )
                                                       )
                 Defendant.                            )
                                                       )

                                MOTION TO BE HEARD
                            ON NEED FOR ADVANCE NOTICE
                        TO MEDIA BEFORE CLOSING COURTROOM

         Non-parties Bloomberg L.P., The New York Times Company, and The Washington Post

  (collectively, “the media organizations”) respectfully request to be heard tomorrow, September

  13, 2024, on the need for advance notice to the media before closing the courtroom for sealed

  proceedings in the above-captioned case.

         There is a strong presumption of open access to court proceedings under the U.S.

  Constitution and the traditions of this Court. The Fourth Circuit thus has repeatedly confirmed

  that “[c]losure motions must be docketed reasonably in advance of their disposition to give the

  public and press an opportunity to intervene and present their objections to the court,” and “when

  the district court has been made aware of the desire of specific members of the public to be

  present, reasonable steps to afford them an opportunity to submit their views should be taken

  before closure.” In re Knight Pub. Co., 743 F.2d 231, 234 (4th Cir. 1984). That is consistent

  with the general rule that “‘representatives of the press and general public must be given an

  opportunity to be heard on the question of their exclusion.’” Id. (quoting Globe Newspaper Co.
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  v. Superior Court, 457 U.S. 596, 609 n. 25 (1982)). Moreover, “[w]hen a closure motion is

  made in open court, persons present must be given notice and an opportunity to object before the

  public can be excluded.” Id.; see also In re S.C. Press Ass'n, 946 F.2d 1037, 1039–40 (4th Cir.

  1991).

           The media organizations recognize that some exhibits in this case are under seal. It is the

  media organizations’ understanding, however, that all parties are informed of the expected order

  of witnesses in advance of each trial day. Thus, it should be reasonably foreseeable to all parties

  whether a witness will be questioned (either on direct or cross) about one or more sealed

  documents and whether there may be a need to close the courtroom for all or part of such

  examination.

           Accordingly, the media organizations ask that the Court require any party who anticipates

  a need to close the courtroom for any reason to so advise the Court and any media organizations

  in attendance at the end of the preceding trial day. The media organizations ask that they then be

  given time at the beginning of the following trial day to object to such courtroom closure,

  through counsel, if necessary.

           Undersigned counsel will be before the Court at 8:30 a.m. tomorrow morning for another

  matter and asks that he be allowed a few moments before trial resumes in this case to discuss the

  issues raised in this motion.

  Date: September 12, 2024                              Respectfully submitted,

                                                               /s/Laurin H. Mills
                                                        Laurin H. Mills (VSB No. 79848)
                                                        Brian P. Donnelly (VSB No. 82052)
                                                        Werther & Mills LLC
                                                        2121 Eisenhower Avenue, Suite 608
                                                        Alexandria, VA 22314
                                                        Direct: 703-547-4696
                                                        Fax: 240-912-3031



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                                            Laurin@werthermills.com
                                            bdonnelly@werthermills.com

                                            Matthew A. Leish (pro hac vice)
                                            Miller Korzenik Sommers Rayman LLP
                                            1501 Broadway, Suite 2015
                                            New York, New York 10036
                                            Direct: 212-752-9200
                                            mleish@mkslex.com

                                            Counsel for non-parties Bloomberg L.P.,
                                            The New York Times Company,
                                            and The Washington Post




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on this 12th day of September, 2024, a copy of the foregoing was filed

  via the Court’s CM/ECF electronic filing system, which will serve all counsel of record:



                                                              /s/Laurin H. Mills
                                                                       Laurin H. Mills
